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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 ANTOINE CLARK, as personal                  )
 representative for ANGELO CLARK,            )
                                             )
                       Plaintiff,            )
                                             )
        v.                                   ) Civ. No. 17-cv-66-RGA
                                             )
 ROBERT COUPE and DAVID PIERCE,              )
                                             )
                       Defendants.           )

                               SUBSTITUTION OF COUNSEL

       PLEASE TAKE NOTICE that, pursuant to Local Rule 83.7, Deputy Attorney General Zi-

Xiang Shen hereby withdraws her appearance as attorney for Defendants Robert Coupe and David

Pierce in the above-captioned matter and that Deputy Attorney General Aaron C. Baker enters his

appearance on behalf of Defendants Robert Coupe and David Pierce.


 STATE OF DELAWARE                           STATE OF DELAWARE
 DEPARTMENT OF JUSTICE                       DEPARTMENT OF JUSTICE

 /s/ Zi-Xiang Shen                           /s/ Aaron C. Baker
 Zi-Xiang Shen (#6072)                       Aaron C. Baker (#5588)
 Deputy Attorney General                     Deputy Attorney General
 Carvel State Office Building                Carvel State Office Building
 820 North French Street, 6th Floor          820 North French Street, 6th Floor
 Wilmington, Delaware 19801                  Wilmington, Delaware 19801
 (302) 577-8400                              (302) 577-8400


DATED: October 19, 2023
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                      CERTIFICATE OF SERVICE AND MAILING

       I hereby certify that on October 19, 2023, I caused a true and correct copy of the attached

Substitution of Counsel to be filed with the Clerk of Court using CM/ECF.




       .                                     STATE OF DELAWARE
                                             DEPARTMENT OF JUSTICE

                                             /s/ Aaron C. Baker
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                                             David Pierce
